Case 2:05-cv-02509-SHI\/|-dkv Document 20 Filed 07/25/05 Page 1 of 3 Page|D 6

   

IN THE UNITED STATES DISTRICT COURTHquL~
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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JEH. INc. nd ERIC HINsHAw, _ ~
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Plaintiffs,
VB- Nb. 05-2509-MaV

VOLVO CONSTRUCTION EQUIPMENT
RENTS, INC., et al.,

Defendants.

 

ORDER DENYING MOTION FOR PROTECTIVE ORDER AS MOOT

 

This matter came before the court on Tuesday, July 19, 2005,
for an expedited hearnig on defenadtn VFS US LLC’s Motion for
Expedited Protective Order, the parties' memoranda, the statement
of counsel, and the entire record in this cause. At the hearing,
counsel announced that they issue had been resolved, and the motion
was withdrawn. Accordingly, the motion was denied as moot.

IT Is so 0R1)ERED this 22ml day of July, 2005.

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DIANE K. vEscovc`)
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Honorable Samuel Mays
US DISTRICT COURT

